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Con nue of claim:



6. Defendant breached the contract by not accep ng the security, Nego able instrument, bill of
exchange. Defendant doesn’t have the original note or security or installment agreement to enforce
against the plain ﬀ.

7. Defendant is prac cing color of law to deprive All Equitable owners who is the plain ﬀ. This is a
viola on and punishable according to federal law 18 u.s.c 242.

8. Defendant is Extor ng Plain ﬀ by seizing plain ﬀ’s security and tender of payment and forcing
Plain ﬀ to pay only using Federal reserve notes. Defendant has reported false late payments to Plain ﬀs
credit report therefor harming plain ﬀ’s credit worthiness and preven ng Plain ﬀ from entering
consumer credit transac ons for his personal and family needs.

9. Defendant has seized plain ﬀ’s securi es and denied plain ﬀ to use his rights in the agreement or
contract. Defendant has commi ed security fraud and has yet to return plain ﬀ’s securi es. Failure to
return securi es means defendant has accepted them as payment and s ll forcing plain ﬀ to pay more
in federal reserve notes.

10. Defendant’s refusal to acknowledge and honor the coupon note’s value and the subsequent claim
that Plain ﬀ s ll owes money, amounts to an unlawful seizure of private property in viola on to the
fourth amendment. And Defendant has not yet compensated plain ﬀ for using his securi es to make
more funds is a viola on of the 5th amendment.

11. Defendant’s refusal to honor this note, despite the plain ﬀ’s ac ons in alignment with the U.C.C
amounts to a full discharge of the debt as per U.C.C 3‐603. By not acknowledging the plain ﬀ’s righ ul
claim, the defendant unjustly benefits from the security which belongs to the plain ﬀ.

12. Defendant has unjustly profited the plain ﬀ’s assets without fulfilling their obliga ons, leading to
unjust enrichment.

13. Defendant had the vehicle which was a Honda Odessy 2016 van repo’d, and s ll denied Plain ﬀ’s
rights and ignored all claims plain ﬀ made prior to repossession.

14. Plain ﬀ contacted Missouri A orney General Consumer protec on department for help on this
situa on. Defendant denied all claims that Plain ﬀ was the beneficial owner and even said that the
plain ﬀ was A Moorish Na onal, Internet scammer. Defendant claims what the Plain ﬀ is doing id fraud
but has not shown any proof they loaned plain ﬀ any money.

15. Defendant made false accusa ons about the plain ﬀ when all the plain ﬀ was doing was trying to
claim his, rights, tles, interest, and equity in the contract. Defendant false accusa ons is now why
plain ﬀ has lost faith in banking.

13. Defendant is a borrower according to 12 U.S.C 1431. Defendant has the power to borrow and pay
interest to obliga ons upon such terms and condi ons.
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15. Defendant Breached contract according to Federal Reserve Act sec on 29 , Defendant breaches any
fiduciary duty; and knowingly or recklessly causes a substantial loss or a substantial pecuniary
gain or other benefit to such party by reason of such violation, practice, or breach,
16. Defendant also showed a pattern of mis conduct by ignoring multiply notices sent certified
registered mail from plaintiff to try and resolve this matter. Missouri Attorney General has since
stepped aside from helping with the situation.



Prayer for relief

Wherefore the Plain ﬀ BRENNEN HURT seeks,

    1. A Declara on from the court that the coupon note is valid and enforceable
    2. Monetary judgement in favor of the plain ﬀ for the full value of the nego able instrument and
       any subsequent damages stemming from its non‐acceptance
    3. An Injunc on manda ng the defendant to honor the coupon note.
    4. Damages for breach of contract, unjust enrichment, and viola on of the UCC with interest,
       a orney fees, and any other relief the court deems necessary and just
    5. Special performance from defendant and all proceeds paid back from defendant plain ﬀ made
       and defendant made from seizing the vehicle.
